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Chad W. Dunn*                                         Edwardo Morfin
Sonni Waknin*                                         WSBA No. 47831
Bernadette Reyes*                                     Morfin Law Firm, PLLC
UCLA Voting Rights Project                            2602 N. Proctor Street, Ste. 205
3250 Public Affairs Building                          Tacoma, WA 98407
Los Angeles, CA 90095                                 Telephone: 509-380-9999
Telephone: 310-400-6019

Mark P. Gaber*                                        Annabelle Harless*
Simone Leeper*                                        Campaign Legal Center
Aseem Mulji*                                          55 W. Monroe St., Ste. 1925
Campaign Legal Center                                 Chicago, IL 60603
1101 14th St. NW, Ste. 400                            aharless@campaignlegal.org
Washington, DC 20005
mgaber@campaignlegal.org
sleeper@campaignlegal.org
amulji@campaignlegal.org

Thomas A. Saenz*
Ernest Herrera *
Leticia M. Saucedo *
Deylin Thrift-Viveros*
Mexican American Legal Defense and Educational Fund
643 S. Spring St., 11th Fl.
Los Angeles, CA 90014
Telephone: (213) 629-2512
tsaenz@maldef.org
eherrera@maldef.org
lsaucedo@maldef.org
dthrift-viveros@maldef.org

Counsel for Plaintiffs
*Admitted pro hac vice


                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON

  SUSAN SOTO PALMER, ALBERTO                    Case No.: 3:22-cv-05035-RSL
  MACIAS, BRENDA RODRIGUEZ
  GARCIA, FABIOLA LOPEZ, CATY                   AMENDED COMPLAINT FOR
  PADILLA, EVANGELINA AGUILAR,                  DECLARATORY AND
  LIZETTE PARRA, HELIODORA                      INJUNCTIVE RELIEF
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 1       MORFIN, and SOUTHCENTRAL
         COALITION OF PEOPLE OF COLOR
 2       FOR REDISTRICTING                                     Judge: Robert S. Lasnik
                         Plaintiffs,
 3               v.                                            Date Action filed: January 19, 2022
         Secretary of State STEVEN HOBBS, in his               Date set for trial:
 4
         official capacity as Secretary of State of
 5       Washington and the STATE OF
         WASHINGTON;
 6                       Defendants.
 7
             Under 42 U.S.C. § 1983 and 52 U.S.C. § 10301, Plaintiffs allege as follows:
 8
                                              INTRODUCTION
 9

10           1.      The Washington State Redistricting Commission (the “Commission”) intentionally

11   selected redistricting plans for Washington’s state legislative districts that dilute Hispanic and/or

12   Latino 1 voters’ ability to elect candidates of choice.
13
             2.      The Commission did so by configuring District 15, which includes parts of the
14
     Yakima Valley and Pasco, to be a façade of a Latino opportunity district.
15
             3.      Election results show that the approved map’s District 15 is unlikely to afford
16
     Latino voters an equal opportunity to elect their candidates of choice in violation of the Voting
17

18   Rights Act.

19           4.      The district’s Hispanic citizen voting age population (“HCVAP”) is just 50.02%.
20           5.      This number is needlessly depressed because the Commission excluded a number
21
     of adjacent, heavily Latino communities in Yakima County—including parts of the City of Yakima
22

23

24
     1
      This complaint uses the terms “Latino” and “Hispanic” interchangeably to refer to individuals
25   who self-identify as Latino or Hispanic. Additionally, the terms “Latino” and “Hispanic” mean
     persons of Hispanic Origin as defined by the United States Census Bureau and U.S. Office of
26   Management and Budget (OMB).

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 1   and the cities of Toppenish, Wapato, Mabton, and their surrounding areas—and instead included

 2   an expanse of rural, white communities in Benton, Grant, and Franklin Counties.
 3          6.     The election data shows that these rural white voters participate at much higher
 4
     rates than the district’s Latino population and exhibit stark racially polarized voting patterns
 5
     against Latino-preferred candidates.
 6
            7.     At the northeastern end of that swath of rural, white voters, the Commission
 7

 8   included the City of Othello in Adams County in District 15. Othello and areas to its immediate

 9   west are majority HCVAP, but to a lesser degree than the Yakima Valley Hispanic communities

10   that the Commission excluded from District 15.
11          8.     The map below shows how the Commission cracked apart Yakima County’s Latino
12
     population between Districts 14 and 15. Census blocks with Latino CVAP exceeding 35% are
13
     shown in gradations of blue.
14
                                              District View
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 1           9.     The map below shows the cracking of the Latino population in the City of Yakima.

 2                                          City of Yakima View
 3

 4

 5

 6

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 8

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10

11

12

13

14           10.    The Commission’s design of District 15 dilutes Latinos’ voting strength in four
15   ways.
16
             11.    First, reaching for Othello rather than including adjacent Yakima County Latino
17
     voters unnecessarily increases the number of bloc-voting white voters in the district, who must be
18
     included in order to extend the lines to Adams County.
19

20           12.    Alternative configurations would have resulted in the district’s HCVAP being

21   higher and providing a real opportunity for Latino voters to elect their candidates of choice.

22           13.    Second, the Commissioners included a large number of rural white voters that vote
23
     against Latino-preferred candidates.
24
             14.    Third, the election data show that Othello’s Latino voters are less politically active
25
     than those the Commission excluded from the district in Yakima County.
26

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 1           15.     Indeed, in the Adams County portion of District 15 (where Othello is located),

 2   former President Donald Trump—who is not the candidate of choice for Yakima County and
 3   Franklin County Latinos—received 60.7% of the vote.
 4
             16.     Adams County Latinos exhibit low voting turnout in elections.
 5
             17.     The Commission’s decision to extend District 15’s lines to Othello in order to
 6
     include low-propensity Latino voters created a district that has just a bare minority Hispanic citizen
 7

 8   voting age population while not improving the electoral prospects of Latino-preferred candidates.

 9           18.     The approved map’s District 15 worsened the electoral prospects of Latino-

10   preferred candidates.
11           19.     Fourth, the election data show that Latino voters turn out to vote at greater numbers
12
     in presidential election years (when even-numbered legislative district elections are held) than in
13
     non-presidential election years (when odd-numbered legislative district elections are held).
14
             20.     By assigning the district an odd number, the Commission has ensured even lower
15

16   Latino voter turnout in the district.

17           21.     These choices—(1) excluding adjacent, politically cohesive Latino voters, (2)

18   including a large number of rural white voters, (3) extending the district to reach non-politically
19
     active Latino voters, and (4) placing the district on a non-presidential election year cycle—result
20
     in a district that is a façade of Latino opportunity district.
21
             22.     The Supreme Court has held that these precise maneuvers—cracking apart
22
     politically-cohesive Latino populations and instead including less politically active Latinos “to
23

24   create the façade of a Latino district”—violates Section 2 of the Voting Rights Act. LULAC v.

25   Perry, 548 U.S. 399, 441 (2006).
26           23.     The election data confirm this.

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 1            24.   Reconstituted election results show that the Latino-preferred candidates would

 2   have lost almost all recent statewide elections in District 15: 2020 President, 2020 Governor, 2020
 3   Attorney General, 2018 Senate, 2016 President, and 2016 Governor. In only the 2016 Senate
 4
     election would the Latino-preferred candidate have carried the district.
 5
              25.   The situation is even worse than that for Latino voters and candidates. In all of the
 6
     above statewide elections, the Latino-preferred candidates were white and were running well-
 7

 8   funded, statewide races. The election data show that when Latino candidates run for state

 9   legislative office in the area, they perform below these white candidates.

10            26.   The current District 15 includes the eastern half of Yakima County and has an
11   HCVAP of 39.3%.
12
              27.   Maria Cantwell, a white woman who was the Latino candidate of choice for U.S.
13
     Senate in 2018, received 43.3% of the vote. Meanwhile, Plaintiff Evangelina Aguilar—who was a
14
     candidate for state senate in District 15 that year and the Latino candidate of choice—received just
15

16   39.4%.

17            28.   The Commission could have avoided creating a façade Latino opportunity district;

18   alternative configurations are possible that have a higher HCVAP percentage, and reconstituted
19
     election results demonstrate that Latino-preferred candidates would have a real opportunity to elect
20
     their candidates of choice in those configurations.
21
              29.   Every member of the Commission was made aware of the adverse effect that the
22
     adopted maps would have on Latino voters in the Yakima Valley region.
23

24            30.   This information was widely reported on in Washington before the Commission is

25   alleged to have approved the plan. See Jim Brunner, Washington’s Redistricting Commissioners
26   Confident They’ll Meet Deadline, But Face Pushback Over South Seattle Plans, SEATTLE TIMES

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 1   (Nov. 10, 2021), https://www.seattletimes.com/seattle-news/politics/washingtons-redistricting-

 2   commissioners-confident-theyll-meet-deadline-but-face-pushback-over-south-seattle-plans/;
 3   Melissa Santos, Proposed WA Redistricting Maps May Violate Voting Rights Act, CROSSCUT (Oct.
 4
     21, 2021), https://crosscut.com/politics/2021/10/proposed-wa-redistricting-maps-may-violate-
 5
     voting-rights-act.
 6
             31.     One of the Commissioners, Commissioner Graves, has stated in relation to District
 7

 8   15, that the Federal Voting Rights Act “forbids districts where members of a racial group ‘have

 9   less opportunity than other members of the electorate to participate in the political process and to

10   elect representative of their choice’” while also stating that District 15 “using recent election results
11   … leans Republican rather than Democrat.”
12
             32.     In races that require political affiliation, Latinos in the Yakima Valley region prefer
13
     Democratic candidates and Latino-preferred candidates have run as Democrats.
14
             33.     By drawing District 15 in such a manner, Latinos in District 15 will be unable to
15

16   elect candidates of choice.

17           34.     The Commission’s decision to create the façade of a Latino opportunity district that

18   they knew would not perform to elect Latino-preferred candidates has the intent and effect of
19
     diluting the voting power of Latino voters in violation of the Voting Rights Act.
20
                                       JURISDICTION AND VENUE
21
             35.     This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1343(a)(3)
22
     and (4), 1357, and 52 U.S.C. § 10301 et seq. to hear the claims for legal and equitable relief arising
23

24   under the Voting Rights Act. It also has general jurisdiction under 28 U.S.C. §§ 2201 and 2202,

25   the Declaratory Judgments Act, and Federal Rules of Civil Procedure 57 and 65 to grant the
26   declaratory and injunctive relief requested by Plaintiffs.

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 1          36.     Jurisdiction for Plaintiffs’ claim for costs and attorneys’ fees is based upon Federal

 2   Rule of Civil Procedure 54, 42 U.S.C. § 1988, and 52 U.S.C. § 10310(e).
 3          37.     This Court has personal jurisdiction over all Defendants. Defendant Steve Hobbs
 4
     is a state official who resides in Washington and performs official duties in Olympia, Washington.
 5
     Defendant State of Washington is a sovereign state of the United States of America.
 6
            38.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part
 7

 8   of the events or omissions giving rise to Plaintiffs’ claims occurred and will occur in this judicial

 9   district. In addition, Defendant Hobbs is a state official performing official duties in the Western

10   District of Washington.
11                                               PARTIES
12
            39.     Plaintiff Susan Soto Palmer is a United States citizen, Latina, over the age of
13
     eighteen, and a registered voter in the State of Washington.
14
            40.     Plaintiff Soto Palmer resides in Yakima, Washington, and under the Commission-
15

16   approved map, resides in Legislative District 15. She intends to vote in future elections.

17          41.     Plaintiff Alberto Isaac Macias is a United States citizen, Latino, over the age of

18   eighteen, and a registered voter in the State of Washington.
19
            42.     Plaintiff Macias resides in Yakima, Washington, and under the Commission-
20
     approved map, resides in Legislative District 15. He intends to vote in future elections.
21
            43.     Plaintiff Brenda Rodriguez Garcia is a United States citizen, Latina, over the age
22
     of eighteen, and a registered voter in the State of Washington.
23

24          44.     Plaintiff Rodriguez Garcia resides in Yakima, Washington, and under the

25   Commission-approved map, resides in Legislative District 14. She intends to vote in future
26   elections.

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 1          45.     Plaintiff Fabiola Lopez is a United States citizen, Latina, over the age of eighteen,

 2   and a registered voter in the State of Washington.
 3          46.     Plaintiff Lopez resides in Wapato, Washington in Yakima County, and under the
 4
     Commission-approved map, resides in Legislative District 14. She intends to vote in future
 5
     elections.
 6
            47.     Plaintiff Caty Padilla is a United States citizen, Latina, over the age of eighteen,
 7

 8   and a registered voter in the State of Washington.

 9          48.     Plaintiff Padilla resides in Toppenish, Washington in Yakima County, and under

10   the Commission-approved map, resides in Legislative District 14. She intends to vote in future
11   elections.
12
            49.     Plaintiff Evangelina Aguilar is a United States citizen, Latina, over the age of
13
     eighteen, and a registered voter in the State of Washington.
14
            50.     Plaintiff Aguilar resides in Sunnyside, Washington and under the Commission-
15

16   approved map, resides in Legislative District 15. She intends to vote in future elections.

17          51.     Plaintiff Lizette Parra is a United States citizen, Latina, over the age of eighteen,

18   and a registered voter in the State of Washington.
19
            52.     Plaintiff Parra resides in Pasco, Washington in Franklin County, and under the
20
     Commission-approved map, resides in Legislative District 15. She intends to vote in future
21
     elections.
22
            53.     Plaintiffs Heliodora Morfin is a United States citizen, Latina, over the age of
23

24   eighteen, and a registered voter in the State of Washington.

25          54.     Plaintiff Morfin resides in Pasco, Washington, and under the Commission-
26   approved map, resides in Legislative District 15. She intends to vote in future elections.

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 1             55.   The Individual Plaintiffs are Latino voters whose votes are diluted in violation of

 2   Section 2 of the Voting Rights Act by being placed in state legislative districts that crack them
 3   from other Latino voters and where their voting power will be overwhelmed by a white bloc voting
 4
     in opposition to their candidate of choice.
 5
               56.   Plaintiff Southcentral Coalition of People of Color for Redistricting is a
 6
     Washington non-profit organization whose members include Latino registered voters who reside
 7

 8   in the Yakima Valley region and Yakima County.

 9             57.   Plaintiff Southcentral Coalition of People of Color for Redistricting’s mission of

10   “[p]romoting public awareness of voting rights and representation in southcentral Washington” is
11   directly related to securing fair representation of the Latino community in the Yakima Valley
12
     region.
13
               58.   Plaintiff Southcentral Coalition of People of Color for Redistricting will bear the
14
     additional burden of expending resources to ensure that Latinos are able to elect candidates of
15

16   choice under the current Commission-approved map.

17             59.   Defendant Steve Hobbs is being sued in his official capacity as the Secretary of

18   State of Washington. Hobbs, as Secretary of State, “shall be the chief election officer for all federal,
19
     state, county, city, town, and district elections.” RCW 29A.04.230. The Secretary of State shall
20
     accept and file documents including declarations of candidacy. RCW 29A.04.255. The Secretary
21
     of State oversees and implements elections that take place once adopted redistricting plans take
22
     effect and ensures that elections are conducted in accordance with those plans.
23

24             60.   Defendant State of Washington is being sued pursuant to the Court’s Order of

25   Joinder, Dkt. No. 68, ordering Plaintiffs to add the State of Washington as a Defendant. The State
26

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 1   of Washington includes the respective governmental arms responsible for adopting redistricting

 2   plans and ensuring that elections are conducted in accordance with those plans in the State.
 3                                        LEGAL BACKGROUND
 4
            61.       Section 2 of the Voting Rights Act, 52 U.S.C. § 10301(a), prohibits any “standard,
 5
     practice, or procedure” that “results in a denial or abridgement of the right of any citizen of the
 6
     United States to vote on account of race or color . . . .” A violation of Section 2 is established if it
 7

 8   is shown that “the political processes leading to nomination or election” in the jurisdiction “are not

 9   equally open to participation by [a racial minority group] in that its members have less opportunity

10   than other members of the electorate to participate in the political process and to elect
11   representatives of their choice.” Id. § 10301(b).
12
            62.       The dilution of Latino voter strength “may be caused by the dispersal of [Latino
13
     voters] into districts in which they constitute an ineffective minority of voters or from the
14
     concentration of [Latino voters] into districts where they constitute an excessive majority.”
15

16   Thornburg v. Gingles, 478 U.S. 30, 46 n.11 (1986).

17          63.       In Gingles, the Supreme Court identified three necessary preconditions (“the

18   Gingles preconditions”) for a claim of vote dilution under Section 2: (1) the minority group must
19
     be “sufficiently large and geographically compact to constitute a majority in a single-member
20
     district”; (2) the minority group must be “politically cohesive”; and (3) the majority must vote
21
     “sufficiently as a bloc to enable it . . . usually to defeat the minority’s preferred candidate.” 478
22
     U.S. at 50-51.
23

24          64.       The second and third preconditions refer to the existence of racially polarized

25   voting. “This legal concept ‘incorporates neither causation nor intent’ regarding voter preferences,
26   for ‘[i]t is the difference between the choices made by [minorities] and whites—not the reasons

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 1   for that difference—that results’ in the opportunity for discriminatory laws to have their intended

 2   political effect.” N. Carolina State Conf. of NAACP v. McCrory, 831 F.3d 204, 221 (4th Cir. 2016)
 3   (citing Gingles, 478 U.S. at 62-63).
 4
             65.     In addition to the preconditions, the statute directs courts to assess whether, under
 5
     the totality of the circumstances, members of the racial group have less opportunity than other
 6
     members of the electorate to participate in the political process and to elect representatives of their
 7

 8   choice. 52 U.S.C. § 10301(b). The Supreme Court has directed courts to consider the non-

 9   exhaustive list of factors found in the Senate Report on the 1982 amendments to the Voting Rights

10   Act in determining whether, under the totality of the circumstances, the challenged electoral device
11   results in a violation of Section 2.
12
             66.     The Senate Factors include: (1) the history of official voting-related discrimination
13
     in the state or political subdivision; (2) the extent to which voting in the elections of the state or
14
     political subdivision is racially polarized; (3) the extent to which the state or political subdivision
15

16   has used voting practices or procedures that tend to enhance the opportunity for discrimination

17   against the minority group; (4) the exclusion of members of the minority group from candidate

18   slating processes; (5) the extent to which members of the minority group bear the effects of
19
     discrimination in areas such as education, employment, and health, which hinder their ability to
20
     participate effectively in the political process; (6) the use of overt or subtle racial appeals in
21
     political campaigns; and (7) the extent to which members of the minority group have been elected
22
     to public office in the jurisdiction.
23

24           67.     Courts also consider whether there is a lack of responsiveness on the part of elected

25   officials to the particularized needs of the minority community, see Luna v. Cty. of Kern, 291 F.
26   Supp. 3d 1088, 1139 (E.D. Cal. 2018), and whether the policy underlying the state or political

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 1   subdivision’s use of the challenged standard, practice, or procedure is tenuous, see Hall v.

 2   Louisiana, 108 F. Supp. 3d 419, 427 (M.D. La. 2015).
 3             68.   “There is no requirement that any particular number of factors be proved, or that a
 4
     majority of them point one way or other.” United States v. Marengo Cty. Comm’n, 731 F.2d 1546,
 5
     1566 n.33 (11th Cir. 1984) (quoting S. Rep. No. 97-417, at 29 (1982)); see also id. (“The statute
 6
     explicitly calls for a ‘totality of the circumstances’ approach and the Senate Report indicates that
 7

 8   no particular factor is an indispensable element of a dilution claim.”).

 9             69.   Section 2 of the Voting Rights Act also prohibits intentional discrimination.

10             70.   A court, when evaluating whether discriminatory intent motivated a redistricting
11   plan, undertakes a “sensitive inquiry into such circumstantial and direct evidence of intent as may
12
     be available.” Village of Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S.
13
     252, 266 (1977). “Challengers need not show that discriminatory purpose was the ‘sole[]’ or even
14
     a ‘primary’ motive for the legislation, just that it was ‘a motivating factor.’” McCrory, 831 F.3d
15

16   at 220 (4th Cir. 2016) (quoting Arlington Heights, 429 U.S. at 265-66) (emphasis in original).

17             71.   In making such an evaluation, the court utilizes a non-exhaustive list of factors,

18   including “the historical background of the challenged decision; the specific sequences of events
19
     leading up to the challenged decision; the legislative history of the decision; and [] the
20
     disproportionate impact of the official action -- whether it bears more heavily on one race than
21
     another.” Id. at 220-21 (internal citations and brackets omitted).
22
               72.   “Once racial discrimination is shown to have been a ‘substantial’ or ‘motivating’
23

24   factor behind enactment of the law, the burden shifts to the law's defenders to demonstrate that the

25   law would have been enacted without this factor.” Hunter v. Underwood, 471 U.S. 222, 228
26   (1985).

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 1          73.     Courts have found Section 2 violations where the district drawn was majority-

 2   minority citizen voting age population or voting age population, but the minority group still did
 3   not have the ability to elect candidates of choice. See, e.g., Thomas v. Bryant, 366 F. Supp. 3d 786,
 4
     809 (S.D. Miss. 2019), aff’d, 938 F.3d 134 (5th Cir. 2019) (rejecting the defense’s argument that
 5
     a majority-minority district cannot be found to be dilutive in violation of Section 2) (citing Monroe
 6
     v. City of Woodville, 881 F.2d 1327 (5th Cir. 1989)); Mo. State Conf. of the NAACP v. Ferguson–
 7

 8   Florissant Sch. Dist., 894 F.3d 924, 933 (8th Cir. 2018)).

 9          74.     The Supreme Court has stated that “it may be possible for citizen voting-age

10   majority to lack a real electoral opportunity” in a district. LULAC, 548 U.S. at 428.
11          75.     A redistricting plan that intentionally draws a district that has a majority of a
12
     minority group but minimizes voter registration and turnout such that the district does not elect the
13
     minority group’s candidate of choice is a violation of Section 2. See Perez v. Abbott, 250 F. Supp.
14
     3d 123, 148 (W.D. Tex. 2017).
15

16          76.     Where the data show that the State has used race to create a nominal Latino majority

17   district that will not functionally perform for Latino voters—where alternative options that would

18   perform are possible—it has unlawfully diluted Latinos’ voting strength “to create the façade of a
19
     Latino district.” LULAC, 548 U.S. at 441; Perez, 250 F. Supp. 3d at 884-85 (finding intentional
20
     racial discrimination where race was used “not . . .to provide or protect Latino voter opportunity
21
     but rather to create the façade of a Latino district.” (internal quotation marks omitted)).
22
                                       FACTUAL ALLEGATIONS
23

24      A. 2020 Demographic Changes in Washington State

25          77.     Washington State’s Latino population surpassed one million in 2020 according to
26   the 2020 United States Decennial Census.

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 1           78.       Washington now has the twelfth largest Latino population out of the fifty states.

 2           79.       Under 13 U.S.C. § 141(c), commonly referred to as Public Law 94-171 (“P.L. 94-
 3   171”), the Secretary of Commerce must complete, report, and transmit to each state the detailed
 4
     tabulations of population for specific geographic areas within each state. States ordinarily use the
 5
     P.L. 94-171 data to redraw district lines.
 6
             80.       Washington received P.L. 94-171 data on August 12, 2021.
 7

 8           81.       Under RCW 44.05.140, the Commission is required to adjust the 2020 census

 9   redistricting data (PL 94-171) by relocating specified incarcerated or involuntarily committed

10   populations from their location of confinement to their last known place of residence.
11           82.       According to P.L. 94-171 data, Washington State’s population grew by 980,741
12
     residents from 2010 to 2020, a growth rate of 14.5%.
13
             83.       Washington’s overall population growth was driven by the growth of its Latino
14
     population, which grew at a rate 3.5 times greater than that of non-Latinos.
15

16           84.       The Latino population in Washington grew by 303,423 for a growth rate of 40.1%,

17   compared to a growth rate of 11.3% for non-Latinos.

18           85.       The growth of the Latino population has been especially large in the Yakima Valley
19
     region and is concentrated in that region.
20
             86.       The Yakima Valley region consists of Yakima, Benton, and Franklin Counties, and
21
     includes Latino population centers in the City of Yakima, Toppenish, Sunnyside, Grandview, and
22
     the Tri-Cities.
23

24           87.       Yakima County added more than 20,000 Latinos over the decade.

25           88.       The total population of Yakima County in 2020 was 256,728.
26

     AMENDED COMPLAINT FOR DECLARATORY 15
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 1             89.   The Latino population of Yakima County in 2020 was 130,049, with Latinos

 2   growing from 45% to 51% of the County’s total population.
 3             90.   Franklin County added more than 12,000 Latinos over the decade.
 4
               91.   Franklin County’s total Latino population is now 54% of the total population or
 5
     52,445.
 6
            92.      Benton County added 16,645 Latinos, a growth of 51% in 10 years, and reported a
 7

 8   total of 49,339 Latinos in 2020.

 9          93.      According to the Census Bureau’s 2019 1-Year American Community Survey

10   (“ACS”) estimates, in 2019, Yakima County’s HCVAP was 46,611.
11          94.      According to the Census Bureau’s 2019 1-year ACS estimates, in 2019, Franklin
12
     County’s HCVAP was 16,931.
13
            95.      According to the Census Bureau’s 2019 1-year ACS estimates, in 2019, Benton
14
     County’s HCVAP was 17,526.
15

16          96.      Combined, the three-county Yakima Valley region had a total Latino population of

17   223,027 (2019 ACS) and 231,833 (2020 Census) and a total HCVAP of 81,068 (2019 ACS).

18             97.   The Latino population in the Yakima Valley region is sufficiently large and
19
     geographically compact to constitute the majority in a legislative district.
20
        B. The Washington State Redistricting Commission
21
               98.   Article II, Section 43 of the Washington Constitution mandates the creation of a
22
     bipartisan Washington State Redistricting Commission every decade to complete redistricting in
23

24   Washington for both congressional and state legislative districts.

25             99.   The Commission is composed of five members; including four voting members and
26   one non-voting member who acts as a chairperson. See WASH. CONST. Art II, § 43(2).

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 1          100.    Four members of the Commission are appointed by the legislative leaders of the

 2   two largest political parties in each house of the legislature. Id. The fifth member is selected by
 3   the four appointed members by an affirmative vote of at least three. Id.
 4
            101.    Article II, Section 43(6) states that the Commission “shall complete redistricting as
 5
     soon as possible following the federal decennial census, but no later than November 15th of each
 6
     year ending in one. At least three of the voting members shall approve such a redistricting plan. If
 7

 8   three of the voting members of the commission fail to approve a plan within the time limitations

 9   provided in this subsection, the supreme court shall adopt a plan by April 30th of the year ending

10   in two in conformance with the standards set forth in subsection (5) of this section.”
11          102.    Under RCW 44.05.100, “[i]f three of the voting members of the commission fail to
12
     approve and submit a plan within the time limitations provided in subsection (1) of this section,
13
     the supreme court shall adopt a plan by April 30th of the year ending in two. Any such plan
14
     approved by the court is final and constitutes the districting law applicable to this state for
15

16   legislative and congressional elections, beginning with the next election held in the year ending in

17   two. This plan shall be in force until the effective date of the plan based on the next succeeding

18   federal decennial census or until a modified plan takes effect as provided in RCW 44.05.120(6).”
19
            103.    State legislative redistricting plans in Washington State must adhere to the
20
     requirements set out in RCW 44.05.090. Districts shall have a population as nearly equal as is
21
     practicable, excluding nonresident military personnel, based on the population reported in the
22
     federal decennial census as adjusted by RCW 44.05.140. And to the extent consistent with the
23

24   equal-population requirement, insofar as practical: (a) District lines should be drawn so as to

25   coincide with the boundaries of local political subdivisions and areas recognized as communities
26   of interest. The number of counties and municipalities divided among more than one district should

     AMENDED COMPLAINT FOR DECLARATORY 17
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 1   be as small as possible; (b) Districts should be composed of convenient, contiguous, and compact

 2   territory. Land areas may be deemed contiguous if they share a common land border or are
 3   connected by a ferry, highway, bridge, or tunnel. Areas separated by geographical boundaries or
 4
     artificial barriers that prevent transportation within a district should not be deemed contiguous; (c)
 5
     Whenever practicable, a precinct shall be wholly within a single legislative district. RCW
 6
     44.05.090.
 7

 8          104.       After the approval of a redistricting plan by three of the voting members of the

 9   Commission, the Commission submits its plan to the legislature. RCW 44.05.110.

10          105.       Once a plan is submitted, the legislature has thirty days during any regular or special
11   session to amend the Commission’s plan by an affirmative vote of two-thirds of the members in
12
     each house. Id.
13
            106.    The amended edits by the legislature “may not include more than two percent of
14
     the population of any legislative or congressional district.” Id.
15

16          107.    “If a commission has ceased to exist, the legislature may, upon an affirmative vote

17   in each house of two-thirds of the members elected or appointed thereto, adopt legislation

18   reconvening the commission for the purpose of modifying the redistricting plan.” RCW 44.05.120.
19
            108.    All districting plans must comply with the VRA and the United States Constitution.
20
        C. 2021 Washington State Redistricting Commission’s Official Actions and Approval
21         of Final Maps.

22          109.    Commissioners Brady Piñero Walkinshaw and April Sims were appointed to the
23
     Washington Redistricting Commission on December 10, 2020, as the two Democratic Party
24
     representatives.
25

26

     AMENDED COMPLAINT FOR DECLARATORY 18
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 1           110.    On January 15, 2021, Paul Graves and Joe Fain were appointed to the Washington

 2   Redistricting Commission as the two Republican Party representatives.
 3           111.    The four voting members, Brady Piñero Walkinshaw, April Sims, Paul Graves, and
 4
     Joe Fain, voted unanimously to appoint Sarah Augustine as Chair of the 2021 Washington
 5
     Redistricting Commission on January 30, 2021.
 6
             112.    Between February 2021 and November 16, 2021, the Commission had Regular
 7

 8   Business Meetings, Special Business Meetings, and Public Outreach Meetings to develop

 9   districting plans.

10           113.     On September 21, 2021, all four voting Commissioners each submitted publicly
11   proposed legislative maps.
12
             114.    None of the four state legislative maps proposed by any of the Defendant
13
     Commissioners included a Latino-majority CVAP district in the Yakima Valley region.
14
             115.    Commissioner Graves’s map split the Latino population in the Yakima Valley into
15

16   three districts: districts 14, 15, and 16.

17           116.    None of these three proposed districts in Commissioner Grave’s map had a Latino

18   CVAP of over 34%.
19
             117.    Commissioner Fain’s map split the Latino population in the Yakima Valley into
20
     four districts: districts 13, 14, 15, and 16.
21
             118.    None of these four proposed districts in Commissioner Fain’s map had a Latino
22
     CVAP of over 34%.
23

24           119.    Commissioner Sims’s map split the Latino population in the Yakima Valley into

25   two districts: districts 14 and 15.
26

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 1          120.    Neither of these proposed districts in Commissioner Sims’s map had a Latino

 2   CVAP of over 47.6%.
 3          121.    Commissioner Sim’s original proposed map does not include the Latino population
 4
     of Pasco, which was put into district 16.
 5
            122.    Commissioner Piñero Walkinshaw’s original proposed map also split the Latino
 6
     population in the Yakima Valley into two districts: districts 14 and 15.
 7

 8          123.    Commissioner Piñero Walkinshaw’s original proposed map does not include the

 9   Latino population of Pasco, which was put into district 16.

10          124.    None of the districts in Commissioner Piñero Walkinshaw’s original map had a
11   Latino CVAP of over 43.2%.
12
            125.    On October 19, 2021, Dr. Matt A. Barreto, UCLA Political Science & Chicana/o
13
     Studies Professor and Faculty Director of the UCLA Voting Rights Project, released a research
14
     presentation analyzing the geographic size and location of Latino voters and the existence of
15

16   racially polarized voting in the Yakima Valley Region. Matt A. Barreto, Assessment of Voting

17   Patterns in Central/Eastern Washington and Review of the Federal Voting Rights Act, Section 2

18   Issues, (Oct. 19, 2021), https://senatedemocrats.wa.gov/wp-content/uploads/2021/10/Barreto-
19
     WA-Redistricting-Public-Version.pdf.
20
            126.    Dr. Barreto was hired to provide analysis on voting patterns and compliance with
21
     the Federal Voting Rights Act to the Washington Senate Democrat Caucus.
22
            127.    Dr. Barreto’s analysis determined that Latino voters in the Yakima Valley region
23

24   are sufficiently large and geographically compact to form a performing majority-minority district.

25

26

     AMENDED COMPLAINT FOR DECLARATORY 20
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 1             128.   Using ecological inference methodology, Dr. Barreto also determined that elections

 2   in the Yakima Valley region demonstrate racially polarized voting between Latino and White
 3   voters.
 4
               129.   Dr. Barreto evaluated the four maps and concluded that the maps proposed by
 5
     Defendant Commissioners Graves and Fain displayed “[t]extbook cracking of [the] Latino
 6
     population” in the Yakima Valley. He further concluded that the original maps proposed by
 7

 8   Commissioners Sims and Piñero Walkinshaw fell short of the necessary Latino CVAP to establish

 9   a performing VRA-compliance district.

10             130.   Dr. Barreto, and the methods he used in his analysis, have been accepted and relied
11   upon by state and federal courts throughout the country. See e.g., Clerveaux v. E. Ramapo Cent.
12
     Sch. Dist., 984 F.3d 213 (2nd Cir. 2020).
13
               131.   Dr. Barreto presented his report and analysis to the Washington State Redistricting
14
     Commission.
15

16             132.   News outlets in Washington wrote articles about his analysis and quoted Dr.

17   Barreto stating that there was a clear finding of racially polarized voting. See, e.g., Melissa Santos,

18   Proposed WA Redistricting Maps May Violate Voting Rights Act, CROSSCUT (Oct. 21, 2021),
19
     https://crosscut.com/politics/2021/10/proposed-wa-redistricting-maps-may-violate-voting-rights-
20
     act.
21
               133.   Dr. Barreto’s research presentation was publicly available for over three weeks
22
     before the Commission’s November 15 deadline.
23

24             134.   The Commissioners were aware of Dr. Barreto’s presentation, had access to it, and

25   reviewed it.
26

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 1          135.    On October 25, 2021, Commissioner Graves texted Washington House

 2   Representatives Jeremie Dufault and Chris Corry to “take a look at slides 22 and 23 in [Dr.
 3   Barreto’s] presentation and then give me a call.”
 4
            136.    Slides 22 and 23 of Dr. Barreto’s presentation proposed two options for a
 5
     performing VRA-compliant legislative district in the Yakima Valley. See Barreto, supra ¶ 126.
 6
            137.    On slide 22 there is a VRA-compliant legislative district that follows the Yakima-
 7

 8   Columbia River Valley and has a Latino CVAP of 60%. See id. at 22.

 9          138.    On slide 23 there is a VRA-complaint legislative district that grouped together the

10   City of Yakima and the Yakama Nation and that has a Latino CVAP of 52%. See id. at 23.
11          139.    Both map options were presented to the Commission.
12
            140.    On October 21, 2021, Commissioner Piñero Walkinshaw stated publicly, “I think
13
     for me, as the first ever Latino commissioner, it has been extremely important for me to lift up and
14
     elevate Hispanic voters, and undo patterns of racially polarized voting, particularly in the Yakima
15

16   Valley. This is something that, under federal law, has to be done.” Santos, supra ¶ 133.

17          141.    On October 25, 2021, Commissioners Piñero Walkinshaw and Sims submitted

18   revised maps for public comment six days after Dr. Barreto released his research presentation.
19
            142.    The maps proposed by Commissioner Piñero Walkinshaw included legislative
20
     districts in the Yakima Valley region that would perform for Latino-preferred candidates.
21
            143.    The Commission was required to approve and vote on final redistricting maps for
22
     both congressional and state legislative districts on November 15, 2021.
23

24          144.    The Commission, however, failed to adopt maps on this date.

25

26

     AMENDED COMPLAINT FOR DECLARATORY 22
     AND INJUNCTIVE RELIEF
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 1           145.   During their chaotic meetings spanning November 15, 2021 and November 16,

 2   2021, the Commissioners spent much of the time in closed-door negotiations discussing matters
 3   in private.
 4
             146.   The Commission did not approve maps for transmittal to the state legislature until
 5
     the morning of November 16, 2021.
 6
             147.   Over the course of the 2021 redistricting process, multiple versions of state
 7

 8   legislative maps compliant with Section 2 of the Voting Rights Act were presented to the

 9   Commission.

10           148.   On December 3, 2021, the Washington Supreme Court declined to exercise
11   authority to adopt a state legislative or congressional redistricting plan, finding that the state
12
     legislative and congressional plans adopted by the Commission met the constitutional adoption
13
     deadline. See Order Regarding the Washington State Redistricting Commission’s Letter to the
14
     Supreme Court on November 16, 2021 and the Commission Chair’s November 21, 2021,
15

16   Declaration, Order No. 25700-B-676 (Dec. 3, 2021).

17           149.   The Washington Supreme Court did not consider or rule on the compliance of the

18   districting plans with respect to Section 2 of the VRA. Id. at 4 (“The court has not evaluated and
19
     does not render any opinion on the plan’s compliance with any statutory and constitutional
20
     requirement other than the November 15 deadline.”).
21
         D. Elections in the Yakima Valley Region Exhibit Racially Polarized Voting.
22
             150.   Voting in the Yakima Valley region is racially polarized.
23

24           151.   Dr. Barreto’s report, which the Commission reviewed, demonstrated the existence

25   of racially polarized voting in the Yakima Valley Region. See Barreto, supra ¶ 126.
26

     AMENDED COMPLAINT FOR DECLARATORY 23
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 1             152.   Dr. Barreto employed ecological inference methodology to analyze candidate

 2   elections from 2012 to 2020 for offices that were consistent across a 5-county region of Yakima,
 3   Benton, Grant, Franklin, and Adams counties. Contests included races for President, U.S. Senate,
 4
     U.S. House, Governor, and Attorney General in each relevant year. Id.
 5
               153.   Clear and consistent patterns emerged from more than a dozen elections.
 6
               154.   Latino voters in the Yakima Valley region are politically cohesive and vote together
 7

 8   for candidates of choice.

 9             155.   Latino voters in the Yakima Valley region prefer the same candidates at margins of

10   2-to-1 or even 3-to-1.
11             156.   This is well above the bar for what courts have relied on in finding cohesiveness.
12
               157.   Spanish-surnamed candidates have consistently run in and lost elections for the
13
     state legislature in Legislative District 15 for more than 10 years.
14
               158.   Latino-preferred candidates have consistently run in and lost elections for the state
15

16   legislature in Legislative District 15 for more than 10 years.

17             159.   According to ecological inference analysis of precinct results for Legislative

18   District 15 under the 2011 state legislative district map, Latino voters preferred Pablo Gonzalez in
19
     2012 for State Representative, but he lost to David Taylor, who was greatly preferred by White
20
     voters.
21
               160.   In the 2014 State Senate election for Legislative District 15, Gabriel Muñoz was
22
     preferred by Latino voters but lost to Jim Honeyford, who was greatly preferred by White voters.
23

24             161.   In the 2014 State Representative election for Legislative District 15, Teodora

25   Martinez-Chavez was preferred by Latino voters but lost to David Taylor, who was greatly
26   preferred by White voters.

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 1           162.    In the 2018 State Senate election for Legislative District 15, Plaintiff Aguilar was

 2   preferred by Latino voters but lost to Jim Honeyford, who was greatly preferred by White voters.
 3           163.    The most recent Latino candidate to run for state legislature was Plaintiff Aguilar
 4
     in 2018.
 5
             164.    Aguilar received an estimated 73% support from Latinos, but only 15% support
 6
     from White voters.
 7

 8           165.    In Yakima County Precinct 104, which is majority Latino, Aguilar won 72.6% of

 9   the vote.

10           166.    In Yakima County Precinct 501 which is majority Latino, Aguilar won 70% of the
11   vote.
12
             167.    The pattern of Aguilar, a Latino candidate winning over 70% of support in Latino-
13
     dense precincts but garnering little support in White dense precincts, is clear across the 11 precincts
14
     in Legislative District 15 that were majority Latino.
15

16           168.    All 11 Latino-majority precincts in the Legislative District 15 race under the 2011

17   map voted majority support for Aguilar.

18           169.    White voters in the Yakima Valley region are also politically cohesive.
19
             170.    In the 2018 Legislative District 15 race under the 2011 map, White voters voted
20
     together as a bloc against Latino candidates of choice.
21
             171.    In Yakima County Precinct 4616, which is majority White, Aguilar won only
22
     21.5% of the vote.
23

24           172.    In Yakima County Precinct 4106, which is majority White, Aguilar won just 22%

25   of the vote. This pattern is clear across the 21 precincts that are majority white, all of which voted
26   against Aguilar.

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 1          173.    Elections for the Washington state legislature are partisan and regularly feature a

 2   Republican-declared and Democratic-declared candidate vying for office.
 3          174.    Latino voters in the Yakima Valley region consistently prefer the Democratic
 4
     candidates for state legislature and other political offices.
 5
            175.    Latinos vote cohesively in favor of Democratic candidates by over a 2-to-1 margin.
 6
            176.    Due to historical advantages and higher socioeconomic status, White voters in the
 7

 8   Yakima Valley region have higher voter registration and turnout rates than Latinos.

 9          177.    In the Legislative District 15 approved by the 2021 Commission, White voters have

10   greater voting strength than Latinos and will consistently be able to elect their Republican
11   candidates of choice.
12
            178.    White voters in the Yakima region overwhelmingly prefer different candidates and
13
     vote as a bloc to usually defeat Latino voters’ candidates of choice.
14
            179.    In many races, Latino voters vote close to 75-25 in favor of their candidates of
15

16   choice, while whites vote 75-25 in favor of different candidates, in complete opposite voting blocs.

17          180.    As precincts increase in Latino population and voting strength, support for Latino

18   candidates of choice increases.
19
            181.    This split, in which candidates who win a majority of the vote in high-density
20
     Latino voting precincts receive low support in high-density non-Latino precincts, is emblematic
21
     of racially polarized voting.
22
            182.    A federal court recently held that racially polarized voting exists in the Yakima
23

24   region and ordered, in 2014, the City of Yakima to create two majority-Latino districts for City

25   Council elections. See Montes v. City of Yakima, 40 F. Supp. 3d 1377 (E.D. Wash. 2014).
26

     AMENDED COMPLAINT FOR DECLARATORY 26
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 1           183.    Likewise, in the first ever lawsuit filed under the Washington Voting Rights Act

 2   (WVRA), Latino plaintiffs challenged the election system in place for the Yakima County Board
 3   of Commissioners and alleged that racially polarized voting exists in Yakima County elections and
 4
     that the County’s election system diluted Latino voting strength in violation of the WVRA. The
 5
     parties in that case agreed to and a state court accepted a settlement, leading to the creation of a
 6
     majority-Latino district for Yakima County Board of Commissioner elections. See Aguilar et al.
 7

 8   v. Yakima County et al., No. 20-2-0018019 (Kittitas Cty. Sup. Ct. July 13, 2020),

 9           184.    In the Aguilar case, Plaintiffs’ expert Dr. Grumbach analyzed several state

10   legislative elections in the Yakima Valley area for racially polarized voting, including the 2012
11   Legislative District 15 primary and general elections, the 2016 Legislative District 14 primary and
12
     general elections, and the 2018 Legislative District 15 primary and general elections, which all
13
     featured Latino candidates running against white candidates. He found that voting was racially
14
     polarized in all of these elections.
15

16           185.    A federal court also found that racially polarized voting exists in elections in Pasco,

17   Washington, see Glatt v. City of Pasco, Case No. 4:16-CV-05108-LRS, (E.D. Wash. Jan. 27,

18   2017), and similarly, a state court found that racially polarized voting exists in elections in Franklin
19
     County as a whole.
20
             186.    There is also qualitative evidence of racially polarized voting in elections in the
21
     Yakima Valley region. See, e.g., Luna v. County of Kern, 291 F. Supp. 3d 1088, 1126 (E.D. Cal.
22
     2018) (stating that in addition to quantitative evidence, courts often “look to [non-statistical]
23

24   evidence…since ‘[t]he experiences and observations of individuals involved in the political

25   process are clearly relevant to the question of whether the minority group is politically
26   cohesive.’”).

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     AND INJUNCTIVE RELIEF
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 1             187.   Latino candidates for public office in the region encounter hostility from white

 2   voters.
 3             188.   For example, Plaintiff Susan Soto Palmer received such a hostile reception in
 4
     predominantly white areas while campaigning for a seat on the Yakima County Board of
 5
     Commissioners that she had to replace herself with white surrogates out of concern for her personal
 6
     safety.
 7

 8             189.   It is clear that there is racially polarized voting in the Yakima Valley Region and in

 9   the region’s main Latino-population centers of Yakima City and Pasco, Washington.

10      E. The Washington Redistricting Commission’s Approved State Legislative Map
           Dilutes the Strength of Latino Voters in the Yakima Valley Region.
11

12             190.   The Commission’s approved state legislative district map cracks Latino voters in

13   the Yakima Valley region, diluting their voting strength by placing them in several legislative

14   districts with white voting majorities.
15             191.   Under the Commission’s approved state legislative district map, Latino voters in
16
     the Yakima Valley region will not be able to elect candidates of their choice and the map does not
17
     create a district in the Yakima Valley area that complies with the Voting Rights Act.
18
               192.   District 15 in the Commission’s approved map has a Latino CVAP of 50.02%.
19

20             193.   Legislative District 15 was crafted to ensure it would not elect Latino voters’

21   candidates of choice.

22             194.   This was an intentional decision by the Commission.
23
               195.   In a text message exchange between Commissioner Graves and Commissioner
24
     Fain, Fain stated that “[w]e will need to draw a dem leaning Latino district in Yakima that doesn’t
25
     include any Yakima.”
26

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 1          196.    They did not do so.

 2          197.    The Commission’s version of Legislative District 15 also excludes majority-Latino
 3   areas such as areas of the City of Yakima and the cities of Wapato, Toppenish, and Mabton,
 4
     intentionally cracking apart these adjacent Latino communities.
 5
            198.    Latinos in areas excluded from the Commission’s Legislative District 15, such as
 6
     Wapato, Toppenish, and Mabton, are politically active and regularly elect Latino candidates of
 7

 8   choice to local office.

 9          199.    The Commission’s approved District 15 contains large pockets of rural voting

10   precincts that are heavily White and vote against Latino voters’ candidates of choice.
11          200.    Moreover, District 15 reaches across large swaths of rural white areas to include at
12
     its northeastern tip the city of Othello in Adams County.
13
            201.    The inclusion of Othello—a majority HCVAP community—is what gets District
14
     15 just above 50% HCVAP (50.02%).
15

16          202.    Election data reveal that Othello Latinos are far less politically active than the

17   Yakima County Latinos whom the Commission excluded from District 15.

18          203.    The Commission included 16,147 Adams County voters in and around Othello,
19
     with a CVAP of 50.8%.
20
            204.    Regression analysis of voter turnout rates across the region finds that Latino voters
21
     in Adams County turnout at a statistically significant lower rate than Latino voters in both Yakima
22
     County and Franklin County.
23

24          205.    Regression analysis of voter turnout rates across the region finds that Latino voters

25   in Adams County turnout at a statistically significant lower rates than White voters in Adams
26

     AMENDED COMPLAINT FOR DECLARATORY 29
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 1   County. While the Latino population is large in Adams, Latino voting strength has historically

 2   been muted.
 3             206.   Republican candidates carry the included area (in Adams?), with Trump receiving
 4
     60.7% of the vote among these voters in 2020. Of the Adams County precincts included in District
 5
     15, Biden carried only three—those with HCVAPs of 74.5%, 72.2%, and 60.0%.
 6
               207.   Election results from the 2020 election reveal that voters who reside in the new
 7

 8   District 15 as adopted in the 2021 plan voted to elect Republican Donald Trump for President,

 9   Republican Culp for Governor, and Republican Larkin for Attorney General. In 2018, voters in

10   the new District 15 voted to elect Republican Newhouse for U.S. Congress and Republican
11   Hutchison for U.S. Senate. In 2016, voters in the new District 15 voted to elect Republican Donald
12
     Trump President and Republican Bryant Governor.
13
               208.   As drawn and adopted, the new District 15 does not perform for Latino candidates
14
     of choice and was deliberately drawn in such a manner.
15

16             209.   The strategy of drawing a district to appear compliant with the Voting Rights Act,

17   but which in practice does not functionally allow Latino voters to elect their candidates of choice,

18   is unlawful. See e.g., Perez v. Abbott, 250 F. Supp.3d 123 (W.D. Tex. April 20, 2017) (three-judge
19
     court).
20
               210.   The Latino CVAP in the Yakima Valley region is sufficiently large and
21
     geographically compact to constitute a majority in a newly configured District 15 that would
22
     provide Latino voters with an equal opportunity to elect their candidates of choice.
23

24      F. The Totality of the Circumstances Demonstrates That Latino Voters in the Yakima
           Valley Region Have Less Opportunity Than Others to Participate in the Political
25         Process and Elect Candidates of Choice.
26

     AMENDED COMPLAINT FOR DECLARATORY 30
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 1          211.    The totality of the circumstances demonstrates that Latino voters have less

 2   opportunity than other members of the electorate to participate in the political process and to elect
 3   representatives of choice. See 52 U.S.C. § 10301(b).
 4
            212.    There is a history of official voting-related discrimination in the Yakima Valley
 5
     region. See Montes v. City of Yakima, 40 F. Supp. 3d 1377 (E.D. Wash. 2014); see also Glatt v.
 6
     City of Pasco, No. 4:16-CV-05108 (E.D. Wash. Jan. 27, 2017).
 7

 8          213.    In 2004, Yakima County entered into a consent decree with the United States

 9   Department of Justice after being sued for failing to provide Spanish-language voting materials

10   and voter assistance as required by Section 203 of the federal Voting Rights Act. See U.S. v.
11   Yakima County, No. 04-cv-3072 (E.D. Wash. Sept. 3, 2004).
12
            214.    As explained above, voting in the Yakima Valley region is substantially racially
13
     polarized.
14
            215.    Latino voters in the Yakima Valley region also bear the effects of discrimination in
15

16   education, employment, health, and other areas of life, which hinders their ability to participate

17   effectively in the political process. See Luna, 291 F. Supp. 3d at 1137. “Under this [] factor,

18   plaintiffs must demonstrate both depressed political participation and socioeconomic inequality,
19
     but need not prove any causal nexus between the two.” Id.
20
            216.    Racial tensions between white and Latino communities in the region persist today.
21
            217.    According to a report from Dr. Luis Fraga in the Montes case, “[t]he Yakima Valley
22
     has a long history of racial animus and hostile responses by Whites to minority groups seeking to
23

24   gain more power or better position.”

25          218.    A 2015 report by the Yakima Herald-Republic explained that the “cultural conflict”
26   between Latino and white communities in Yakima is “apparent in public where Latinos and non-

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 1   Latinos gather at different parks and many businesses, and on the Internet, where forums and

 2   comment boards for local audiences can often be loaded with xenophobic vitriol.” See Mike Faulk,
 3   Yakima’s       Cultural        Divide,      Yakima        Herald          (Oct.   16,       2015)
 4
     https://www.yakimaherald.com/news/elections/yakima_city_council/yakimas-cultural-
 5
     divide/article_590c92b4-7416-11e5-949e-dbfb62c94960.html.
 6
            219.    Latinos in the Yakima Valley also bear the impacts of discriminatory policing.
 7

 8          220.    On February 10, 2015, local Pasco police, themselves not racially reflective of the

 9   community, shot Antonio Zambrano-Montes seventeen times and killed him after he was allegedly

10   throwing rocks at cars. Weeks of demonstrations calling for justice and more scrutiny over Pasco’s
11   policing of the Latino community followed.
12
            221.    Officials in Yakima and Franklin Counties have expressed anti-immigrant
13
     sentiment against the area’s immigrant population—an overwhelming majority of which is Latino.
14
            222.    U.S. Census statistics reveal a number of disparities between the white and Latino
15

16   communities in the Yakima Valley area.

17          223.    Latino residents in Franklin County are much less likely to have a high school

18   diploma than white Franklin residents.
19
            224.    Only 7.1% of Latinos in Franklin County have a bachelor’s degree or higher,
20
     compared to 29.9% of whites.
21
            225.    7.5% of Franklin County’s white population lives below the poverty line, but more
22
     than one out of five Latinos in the County live below the poverty line.
23

24          226.    Socioeconomic indicators show clear and significant disparities between Latino

25   and white residents in Yakima County.
26

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 1          227.    21.9% of Latino residents had an income below poverty level, a rate almost double

 2   that of white residents (11.4%).
 3          228.    Of all persons in Yakima County with an income below the poverty level, 62.3%
 4
     were Latino, while only 28.2% were white.
 5
            229.    While the median income for households in Yakima County is $51,637, the median
 6
     household income for white residents is higher, at $57,398, while the median household income
 7

 8   for Latino residents is lower, at $45,880.

 9          230.    Over half—51.6%—of the Latino population over the age of 25 in Yakima County

10   does not have a high school diploma or its equivalent, compared to only 9.6% of white residents.
11          231.    This trend continues for higher education, where only 5.7% of Yakima County’s
12
     Latino residents over the age of 25 have a bachelor’s degree, compared to 24.1% of white residents.
13
            232.    The unemployment rate for the Latino population in Yakima County is 7.8%,
14
     almost double the rate of unemployment among white residents, which is only 4.2%.
15

16          233.    Latino residents of Yakima County also face major disadvantages in housing

17   compared to white residents.

18          234.    There are an estimated 30,687 occupied housing units in Yakima County with a
19
     Latino householder, compared to 46,921 housing units with white residents. Of the units with a
20
     Latino householder, only 31.3% are owner-occupied, compared to 63.3% for whites.
21
            235.    A report prepared by the Homeless Network of Yakima County found that
22
     “Hispanics are twice as likely as non-Hispanics to be denied financing when applying for
23

24   conventional loans to purchase housing and to obtain refinancing of existing mortgages thereby

25   limiting their housing choices.”
26

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 1              236.   Latino residents in Yakima County also bear the effects of past discrimination with

 2   respect to health and healthcare access.
 3              237.   19.6% of Yakima County’s Latino population does not have health insurance,
 4
     compared to only 5.9% of white residents.
 5
                238.   The Latino community in Yakima County has been disparately impacted by the
 6
     COVID-19 pandemic.
 7

 8              239.   As of December 2, 2021, the County’s own public website reported that 38% of

 9   COVID-19 positive individuals in the County are Hispanic or Latino, compared to 16.3% that are

10   white. 2
11              240.   Latinos in Yakima County have also been disproportionately impacted by other
12
     serious health issues like water contamination, including high nitrate levels and fecal matter in
13
     wells.
14
                241.   Voter registration and turnout levels in Yakima County are substantially lower
15

16   among Latino residents than white residents.

17              242.   January 2021 data from the Yakima County Elections Office demonstrates there

18   are 127,512 registered voters countywide, but only 35,150 of those are “Spanish surnamed
19
     registered voters.”
20
                243.   According to the County’s own publicly available and regularly collected data,
21
     there is a clear disparity in political participation between Latino and white voters.
22
                244.   Statistics collected by the Yakima County Auditor show that for the 2020 general
23

24   election, ballots were issued to 37,978 voters with a Spanish surname, but only 21,281 (56%) of

25
     2
      See Yakima Health District, Race and Ethnicity Breakdown of COVID-19 Positive Individuals,
26   https://www.yakimacounty.us/2440/Confirmed-Cases-Race-Ethnicity (last updated Dec. 2, 2021).

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 1   those ballots were returned. By comparison, of the 89,713 ballots issued to voters with a non-

 2   Spanish surname, 75,704 (84%) of those ballots were returned. 3
 3            245.   Latino voters in Eastern Washington, including both Yakima County and Franklin
 4
     County, have their ballots challenged and rejected at higher rates than white voters.
 5
              246.   According to an investigation, Latino voters in Yakima County had their ballots
 6
     rejected for signature mismatch at 7.5 times the rate of non-Latino voters in the November 2020
 7

 8   election. See Joy Borkholder, Investigation Finds Latino Ballots in WA More Likely to Be Rejected,

 9   CROSSCUT (Feb. 15, 2021), https://crosscut.com/politics/2021/02/investigation-finds-latino-

10   ballots-wa-more-likely-be-rejected.
11            247.   Latino voters in Franklin County had their ballots rejected for signature mismatch
12
     at 3.9 times the rate of non-Latino voters in the November 2020 election. Id.
13
              248.   On May 7, 2021, an individual Latino voter, along with the Latino Community
14
     Fund and League of United Latin American Citizens, filed suit in federal court against Yakima
15

16   County and two other counties alleging that the County’s system for verifying ballot signatures

17   discriminates against Latino voters. See, e.g., Reyes v. Chilton, No. 4:21-cv-05075 (E.D. Wash.

18   2021).
19
              249.   Campaigns in the Yakima Valley region have also featured overt and subtle racial
20
     appeals.
21
              250.   In 2014, when Plaintiff Soto Palmer campaigned on behalf of Gabriel Muñoz, a
22
     Latino candidate for State Senate in Legislative District 15, she knocked on doors in the
23

24

25
     3
         2020 General Election Voter Participation by Surname, Yakima County,
26   https://www.yakimacounty.us/ArchiveCenter/ViewFile/Item/1130 (last visited Dec. 9, 2021).

     AMENDED COMPLAINT FOR DECLARATORY 35
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 1   predominantly white town of Union Gap. At one home, a white resident who saw the campaign

 2   literature for Mr. Muñoz immediately said: “I’m not gonna vote for him, I’m racist.”
 3          251.    In the 2016 election for Yakima County Board of Commissioners, in a campaign
 4
     that covered all of Yakima County, candidate Ron Anderson shared a public Facebook post stating
 5
     that “Illegals are being seduced into America by Democrats to steal our elections. Act of Treason,
 6
     Arrest all involved!”
 7

 8          252.    In a campaign for a seat on the Yakima City Council, Latina candidate Dulce

 9   Gutierrez was told by a white resident to “Go back to Mexico” while she was handing out

10   campaign flyers, and had another individual ask her why they “had to vote for a Mexican” while
11   she was campaigning.
12
            253.    Jose Trevino, the Mayor of Granger—a city in the Lower Valley which has a total
13
     population of 3,756, of whom 88.4% are Latino—experienced multiple incidents while
14
     campaigning for various offices in Yakima County. For example, Mr. Trevino attributed his 2015
15

16   loss in the Granger mayoral race to a rumor spread during the campaign that he “was going to fire

17   all the white people in the city.”

18          254.    Mr. Trevino also attributed his loss in the 2014 race for Yakima County Clerk, 2018
19
     race for Yakima County Commissioner District 3, and his pulling out of the 2020 appointment
20
     process for a vacant Yakima County Board seat to negative coverage in the Yakima Herald-
21
     Republic, and commented that his opponents in those races, all but one of whom were white, did
22
     not receive similar treatment, and that he was the “only [candidate] they picked on”’ because “it
23

24   was easier to pick on the Republican Mexican than anyone else.”

25          255.    Further, county officials and elected officials have made overt and subtle racial
26   appeals while in office.

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 1          256.     During a September 21, 2021, Franklin County Commissioners’ meeting,

 2   Commissioner Mullen stated, in reference to the discussion of Latino citizen voting age population
 3   in the current commissioner districts, that he “believes that there are non-citizens that are voting
 4
     in the elections.” See Franklin County Commissioners Meeting (Sept. 21, 2021),
 5
     https://media.avcaptureall.cloud/meeting/e3e60dfb-87e0-4b8f-bb49-14dbe5167045 at 1:12:00-
 6
     1:12:30.
 7

 8          257.     In 2016, a Franklin County official shared an image of a white farmer with the

 9   caption, “When is white history month?” and on the corner of the image, there was a white raised

10   fist used by white supremacists with the words “100% White, 100% Proud.”
11          258.     Few Latino candidates have been elected to public office in the Yakima Valley
12
     region except to hyperlocal offices in areas and districts with high majority Latino CVAP.
13
            259.     Latino candidates for public office are routinely defeated.
14
            260.     Although several Latino candidates have run for election in Legislative District 15
15

16   in the last decade for both state house and senate, including at least Pablo Gonzalez, Teodora

17   Martinez-Chavez, and Bengie Aguilar, none have won.

18          261.     Legislative District 15 is currently represented by two white men in the state house,
19
     Bruce Chandler and Jeremie Dufault, and a white man in the state senate, Jim Honeyford.
20
            262.     Jim Honeyford has made racial appeals during his tenure as a Washington
21
     Representative.
22

23

24

25

26

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 1          263.    At a 2015 legislative hearing, Jim Honeyford twice referred Latinos and other

 2   people of color as “coloreds” and said that they are “commit more crimes.” 4
 3          264.    Latino candidates have also run for Legislative District 14, including Susan Soto
 4
     Palmer in 2016, but were not elected to office.
 5
            265.    Legislative District 14 is currently represented by two white representatives in the
 6
     state house, Chris Corry and Gina Mosbrucker, and a white man in the state senate, Curtis King.
 7

 8          266.    Latino voters lack representation at the County level in the Yakima Valley region.

 9          267.    Only one Latino candidate, Jesse Palacios, has ever been elected to the Yakima

10   County Board of Commissioners, and he was last elected almost 20 years ago, in 2002.
11          268.    No Latino-preferred candidates have been elected to the Franklin County Board of
12
     Commissioners.
13
            269.    Elected officials in the Yakima Valley region are not responsive to the
14
     particularized needs of Latinos in the region.
15

16          270.    The policy underlying the Commission’s crafting of a district that does not give

17   Latinos the opportunity to elect their candidates of choice is tenuous.

18          271.    These and other factors demonstrate that the totality of the circumstances show that
19
     Latino voters have less opportunity than other voters to participate in the political process and elect
20
     their candidates of choice.
21

22

23   4
       Sen. Honeyford sorry for calling minorities ‘coloreds,’ The Columbian (Mar. 6, 2015),
24   https://www.columbian.com/news/2015/mar/06/sen-honeyford-sorry-calling-minorities-
     coloreds/; Ansel Herz, Republican State Senator: Poor, “Colored” People Are More Likely to
25   Commit           Crimes,         The         Stranger        (Mar.        2,        2015),
     https://www.thestranger.com/blogs/slog/2015/03/02/21799665/washington-republican-poor-
26   colored-people-are-more-likely-to-commit-crimes.

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 1                                         CLAIMS FOR RELIEF

 2                                             Count 1
                           Race and Language Minority Discrimination,
 3             Discriminatory Results in Violation of Section 2 of the Voting Rights Act
                                          52 U.S.C. § 10301
 4

 5          272.    Plaintiffs repeat, replead, and incorporate by reference, as though fully set forth in

 6   this paragraph, all allegations in this Complaint.
 7          273.    Section 2 of the Voting Rights Act prohibits the enforcement of any voting
 8
     qualification or prerequisite to voting or any standard, practice, or procedure that results in the
 9
     denial or abridgement of the right of any U.S. citizen to vote on account of race, color, or
10
     membership in a language minority group. 52 U.S.C. § 10301(a).
11

12          274.    The district boundaries of state legislative districts in the Commission’s approved

13   map crack Latino voters in the Yakima Valley region across multiple state legislative districts,

14   resulting in dilution of the strength of the area’s Latino voters, in violation of Section 2 of the
15   Voting Rights Act.
16
            275.    Under Section 2 of the Voting Rights Act, the Commission was required to create
17
     a majority-Latino state legislative district in the Yakima Valley region in which Latino voters have
18
     the opportunity to elect their candidates of choice.
19

20          276.    Latino voters in the Yakima Valley region are sufficiently large and geographically

21   compact to constitute a majority in a legislative district.

22          277.    Latino voters in the Yakima Valley region are politically cohesive, and elections in
23
     the area demonstrate a pattern of racially polarized voting that allows a bloc of white voters usually
24
     to defeat Latino voters’ preferred candidates, including in the version of Legislative District 15
25
     included in the Commission’s approved map.
26

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 1           278.    The totality of circumstances show that the Commission’s approved map has the

 2   effect of denying Latino voters in the Yakima Valley region an equal opportunity to participate in
 3   the political process and to elect their candidates of choice, in violation of Section 2 of the Voting
 4
     Rights Act, 52 U.S.C. § 10301.
 5
             279.    Absent relief from this Court, Defendants will continue to engage in the denial of
 6
     Plaintiffs’ Section 2 rights.
 7

 8           280.    Latino voters are thus entitled, under Section 2 of the Voting Rights Act, to a

 9   majority-Latino district that would provide them with an effective opportunity to elect the

10   candidate of their choice to the Washington State Legislature.
11

12                                               Count 2
                             Race and Language Minority Discrimination,
13               Discriminatory Intent in Violation of Section 2 of the Voting Rights Act
                                           52 U.S.C. § 10301
14
         281.        Plaintiffs repeat, replead, and incorporate by reference, as though fully set forth in
15

16   this paragraph, all allegations in this Complaint.

17       282.        The state legislative map approved by the Commission was adopted with the intent

18   to discriminate on the basis of race, national origin, and/or language minority group status and has
19
     a discriminatory effect on that basis, by intentionally cracking Latino voters to ensure that Latino
20
     voters in the region are unable to elect candidates of choice.
21
                                              PRAYER FOR RELIEF
22
             Plaintiffs request that the Court:
23

24       a) Declare that the Washington State Redistricting Commission’s Approved Final State

25           Legislative Map results in vote dilution in violation of Section 2 of the Voting Rights Act
26           by failing to draw an effective Latino-majority state legislative district in which Latino

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 1          voters would have an equal opportunity to elect their candidate of choice to the Washington

 2          Legislature;
 3      b) Declare that the Washington State Redistricting Commission’s Approved Final State
 4
            Legislative Map was drawn to intentionally dilute Latino voting strength in the Yakima
 5
            Valley region in violation of Section 2 of the Voting Rights Act;
 6
        c) Preliminarily and permanently enjoin Defendants from administering, enforcing, preparing
 7

 8          for, or in any way permitting the nomination or election of members of the Washington

 9          State Legislature from the illegal state legislative districts under the Washington State

10          Redistricting Commission’s Approved Final State Legislative Map. Plaintiffs have no
11          adequate remedy at law other than judicial relief sought herein, and unless Defendants are
12
            enjoined from using the Commission’s Approved Final State Legislative Map. Plaintiffs
13
            will be irreparably injured by the continued violation of their statutory rights;
14
        d) Order the implementation and use of a valid state legislative plan that includes a majority-
15

16          Latino state legislative district in the Yakima Valley region that does not dilute, cancel out,

17          or minimize the voting strength of Latino voters;

18      e) Award Plaintiffs their costs, expenses, disbursements, and reasonable attorneys’ fees
19
            pursuant to Fed. R. Civ. P. 54, 42 U.S.C. § 1988, and 52 U.S.C. § 10310(e);
20
        f) Retain jurisdiction and render any and further orders that the Court may find necessary to
21
            cure the violation; and
22
        g) Grant any and all further relief to which Plaintiffs may show themselves to be entitled or
23

24          that the Court deems proper.

25

26   Dated this the 13th day of May, 2022.

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 1   Respectfully submitted,
                                                    By: /s/ Edwardo Morfin
 2

 3
     Chad W. Dunn*                                         Edwardo Morfin
 4   Sonni Waknin*                                         WSBA No. 47831
     Bernadette Reyes*                                     Morfin Law Firm, PLLC
 5   UCLA Voting Rights Project                            2602 N. Proctor Street, Ste. 205
 6   3250 Public Affairs Building                          Tacoma, WA 98407
     Los Angeles, CA 90095                                 Telephone: 509-380-9999
 7   Telephone: 310-400-6019

 8   Mark P. Gaber*                                        Annabelle Harless*
     Simone Leeper*                                        Campaign Legal Center
 9   Aseem Mulji*                                          55 W. Monroe St., Ste. 1925
10   Campaign Legal Center                                 Chicago, IL 60603
     1101 14th St. NW, Ste. 400                            aharless@campaignlegal.org
11   Washington, DC 20005
     mgaber@campaignlegal.org
12   sleeper@campaignlegal.org
     amulji@campaignlegal.org
13

14   Thomas A. Saenz*
     Ernest Herrera *
15   Leticia M. Saucedo *
     Deylin Thrift-Viveros*
16   Mexican American Legal Defense and Educational Fund
     643 S. Spring St., 11th Fl.
17
     Los Angeles, CA 90014
18   Telephone: (213) 629-2512
     tsaenz@maldef.org
19   eherrera@maldef.org
     lsaucedo@maldef.org
20   dthrift-viveros@maldef.org
21
     Counsel for Plaintiffs
22   *Admitted pro hac vice
23

24

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 1                                 CERTIFICATE OF SERVICE

 2         I certify that all counsel of record were served a copy of the foregoing this 13th day of
 3   May, 2022, via the Court’s CM/ECF system.
 4

 5
                                                       /s/ Edwardo Morfin
 6
                                                       Counsel for Plaintiffs
 7

 8

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